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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
                                                      -X

                                                                       19-mc-01730(AMD)
In re:


JACK SUDLA VITAYANON,
an attorney admitted to practice before this Court,
                            Respondent.

                                                      -X


before the grievance committee of the united states district
COURT FOR THE EASTERN DISTRICT OF NEW YORK
               An order having been entered in the Supreme Court ofthe State ofNew York,
 Appellate Division, disbarring the respondent from the practice oflaw before that Court,
               IT IS ORDERED,pursuant to Local Rule 1.5 that the respondent, be and is hereby
 disbarred from the practice oflaw before this Court and that the respondent's name byt"^en
 from the Roll of Attorneys of this Court. This order shall become effective 24 days after the
 of service upon said attorney unless otherwise modified or stayed.
                The docketing clerk is directed to mail a copy of this order to the respondent if
 service is unavailable via ECF,and to close this action without prejudice.

                SO ORDERED.

  Dated:        Brooklyn, New York
                July 11,2019

                                              s/Ann M. Donnelly
                                             ANN M.DONNELLY,U.S.D.J.
                                             Chair of the Committee on
                                             Grievances, E.D.N.Y.
